  Case 1:17-cv-23177-KMW Document 14 Entered on FLSD Docket 06/18/2018 Page 1 of 1
 U.S.Departm entofJustice
 United StatesM arshalsSelwice
                                                                        PROCESSRECEIPT AND RETURN $
                                                                        See ''
                                                                             lnstructions/?p?'Sel'
                                                                                                 vice()f.
                                                                                                        /'
                                                                                                         5-t
                                                                                                           '
                                                                                                           ?t?tLK5
                                                                                                                 -bv t7'
                                                                                                                       .S.l
                                                                                                                          kltllb%h(Il''

  PLAINTIFF                                                                                          COURTCASE NUM BER
  M AURICE SYM ONETTE                                                                                17-23177-C1V-W 1LL1AM S
  DEFENDANT                                                                                          TYPEOF?ROCESS
  DR.SM ITH JOSEPH,ET AL.,                                                                           SUM M ONS & COM PLAINT
                      NAM EOFINDIVIDUAL,COM PANY,CORPORATION.ETC.TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

   SERVE              CITY OF NORTH M IAM IPOLICE DEPARTM ENT
      AT              ADDRESS(StreetorRFD,ApartmentNo.,Cf/F,StateandZIPCode)
               700 N E 124 STREET,NORTH M IAM I,FL 33161
  SEND NOTICE OFSERVICECOPY TO REQUESTER AT NAMEAND ADDRESSBELOW                                 xumberofprocesstobe

                (MAURICESYMONETTE                                                                xumberotxpartiestobe
                1977 NE ll9TH 10 .                                                                servedinthiscase                         6
                M IAM I,FL 33181
                                                                                                  Checktbrservice
                                                                                                  on U.S.A.

   SPECIAL INSTRUCTIONSOR OTHER INFORM ATION THATW ILLASSIST IN EXPEDITING S                           c                                       nateAddrenes
   AllTelephoneNumbm,andEstimatedTimesAvailableforServicel:                                     FILED by                           D.c.
                                                                                                                                       j
                                                                                                                                       ,                             ald
Fold

                                                                                                   ;l
                                                                                                 ...w,f,
                                                                                                       1j $
                                                                                                          f          c..xkyk,j)'
                                                                                                                     z
                                                                                                                                           /b
                                                                                                 s-i
                                                                                                 CL-svEyuuo''-L
                                                                                                    ERK     .
                                                                                                               qasl'l
                                                                                                              .ol   r,
                                                                                                                     sr
                                                                                                                      garc-
                                                                                                                     .c'  .
                                                                                                                            #
                                                                                                                            ,
                                                                                                  S.D.ofFIA .- r                   '
   SignatureofAttorneyothcrOriginatorrequestingserviceonbehalfof: (rjpuajx-rjp.
                                                                              y   TELEPHONENUMBER       DATE
                                                                  C1DEFENDANT
    SPA CE BELO W FOR USE OF U .S.M AR SH AL O NLY - D O NO T W R ITE BELO W TH IS LIN E
   1acknowl
          edgerecciptforthct
                           otal TotalProcess Districtof bistrictto Signaturet) horizedUSMSDeputyorClerk      Date
   numberofprocessindicated.                      Origin       Sel've
   (Signonl
          yfSoAr.
                /USMis
                     2s
                      85tmi
                         f-o
                           tterd
                               c                               xo. 04                                                                                        6/1/2018
   :hanoneL/     J:J   ub      )       6          No. 04

   Iherebycertiry andreturnthatI haveptrsonallyserved,Z haveIegalevidenceofselwice,Z haveexecuted asshownin'Remarks',theprocessdescri    bed
   ontheindividua
                .
                  l,company,cor ration,ete.-attheaddressshownaboveontheontheindividual,company,corporation,etc.shownattheaddressinsertedbelow.

   EZIIherebycertifyandreturnthatIam unabletolocatetheindi
                                                         vi
                                                          dual,company,corporation,ctc.namedabove(Seeremarksbelow)
   Nameandtitleofindividualserved(l
                                  fnotshownabove)                                                   tq(
                                                                                                      ljA personofsuitableageanddiscrtti
                                                                                                                                       on
                  '                k                                               q       . -                  thenresidingindefendant'susualplace
                            ).kjj v,
                                                        ' 15            z
                                                                        .                                       of-abode
   Address(completeonl
                     ydterentthanshownabove)                                                             Date            .
                                                                                                                         ,                 Time 1 '                     am
                                                                                                                 l
                                                                                                                 i
                                                                                                                 k
                                                                                                                 .
                                                                                                                     ,
                                                                                                                           --          z
                                                                                                                                                         l
                                                                                                                                                         r
                                                                                                                                                        .-              Pm
                                                                                                                                                   32
                                                                                                           Si            o ..                  a             e uty


   ServiceFeer         TotalM ileageCharges ForwardingFee   TotalCharges      AdvanceDeposits     Alutluntowedt(ht;.S.Marshal#(.,1'
           (           includingendeavors)                                                       (ztlloulltoI'Itctlnd*)
          ,'            o.fm p(œp                                                                                               $000.

   REM ARKS:
       PRO SE

          . .            1.CLERK OFTHECOURT                                                                                  PRIOR EDITIONSMAY BE USED
                         2.USM S RECORD
                         3.NOTICE OFSERVICE
                         4.BILLING STATEM ENT#:TobereturnedtotheU.S,Marshalwithpayment,
                           ifanyamountisowed.PleaseremitpromptlypayabletoU.S.Marshal.                                                                            Form USM-285
                         5.ACKNOW LEDGM ENTOFRECEIPT                                                                                                                 Rev.1l/l3
